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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

IN RE TIVITY HEALTH, INC. DERIVATIVE )
LITIGATION                            ) Lead Case No. 20-CV-00903 (RGA)
_____________________________________ )


                          JOINT STIPULATION AND ORDER
                     TEMPORARILY STAYING DERIVATIVE ACTION

       Plaintiffs Patrick Yerby, Thomas R. Conte, Melvyn Klein, and Mark Ridenour

(“Plaintiffs”), derivatively on behalf of nominal defendant Tivity Health, Inc. (“Tivity” or the

“Company”), and Defendants Donato J. Tramuto, Adam C. Holland, Dawn M. Zier, Sara J.

Finley, Robert Greczyn, Jr., Peter A. Hudson, Beth M. Jacob, Bradley S. Karro, Paul H. Keckley,

Benjamin A. Kirshner, Lee A. Shapiro, Archelle Georgiou, Daniel G. Tully, and Kevin G. Wills

(“Individual Defendants” and with Tivity, “Defendants”) (Defendants and Plaintiffs, the

“Parties”) jointly submit this stipulation (“Stipulation”) to stay temporarily the above-captioned

action (“Derivative Action”), and in support thereof state as follows:

       WHEREAS, on February 25, 2020, a putative class action captioned Strougo v. Tivity

Health, Inc., Case No. 3:20-cv-00165 (the “Securities Action”) was filed in the United States

District Court for the Middle District of Tennessee, alleging violations of Sections 10(b) and

20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) against defendants Tivity,

Donato J. Tramuto and Adam C. Holland;

       WHEREAS, the undersigned counsel have conferred and agreed to stay this Derivative

Action until and through the resolution of any motion to dismiss that will be filed in the

Securities Action;
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         WHEREAS, because this Derivative Action challenges substantially similar alleged

conduct and involves substantially similar questions of law and fact as alleged in the Securities

Action, this joint stipulation will promote the efficient and orderly administration of justice;

         WHEREFORE, the Parties, through their undersigned counsel, hereby agree, stipulate,

and respectfully request that the Court enter an Order as follows:

         1.    The Complaint filed by Plaintiff Yerby shall be deemed the operative complaint

(the “Complaint”) for the Derivative Action.

         2.    The Parties agree that notwithstanding this stay of this Derivative Action,

Plaintiffs may file an amended complaint.

         3.    This Derivative Action shall be stayed, and no Case Management Order issued,

upon the Court’s so-ordering this Stipulation as an Order of the Court.

         4.    While the Derivative Action is stayed, Defendants are not required to answer or

other respond to the Complaint or to any amended complaint contemplated by paragraph No. 2

above.

         5.    Upon occurrence of any of (1) the dismissal of the Securities Action, with

prejudice and exhaustion of all appeals related thereto; or (2) the denial of any motion to dismiss

the Securities Action filed by defendants in that action; or (3) either of the Parties to this

Stipulation has given written notice that they no longer consent to the voluntary stay of this

Derivative Action, then the Parties shall notify the Court within fifteen (15) days after the

occurrence of any of the events above. The case shall remain stayed for thirty (30) days

following any such event. By or before the thirtieth day following any such event, the Parties

shall meet and confer and submit a proposed schedule, including for Defendants’ response to the

Complaint or to any amended complaint contemplated by paragraph No. 2 above.



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       6.      This stipulation is without waiver or prejudice to any and all claims and defenses

that would otherwise be available to the Parties in this Derivative Action.

       IT IS SO STIPULATED.

FARNAN LLP                                         MORRIS, NICHOLS, ARSHT & TUNNELL LLP


/s/ Brian E. Farnan                                /s/ Jennifer A. Ward
Brian E. Farnan (Bar No. 4089)                     D. McKinley Measley (#5108)
Michael J. Farnan (Bar No. 5165)                   Jennifer A. Ward (#6476)
919 N. Market St., 12th Floor                      1201 N. Market Street
Wilmington, DE 19801                               P.O. Box 1347
Telephone: (302) 777-0300                          Wilmington, DE 19899-1347
Facsimile: (302) 777-0301                          (302) 658-9200
bfarnan@farnanlaw.com                              dmeasley@mnat.com
mfarnan@farnanlaw.com                              jward@mnat.com

Liaison Counsel for Plaintiffs                     OF COUNSEL:

Timothy Brown                                      KING & SPALDING LLP
THE BROWN LAW FIRM, P.C.                           Jessica P. Corley
240 Townsend Square                                Lisa R. Bugni
Oyster Bay, NY 11771                               1180 Peachtree Street NE
Telephone: (516) 922-5427                          Atlanta, GA 30309
Facsimile: (516) 344-6204                          Telephone: (404) 572-4600
tbrown@thebrownlawfirm.net                         jpcorley@kslaw.com
                                                   lbugni@kslaw.com
Lead Counsel for Plaintiffs
                                                   Attorneys for Defendants

October 26, 2020




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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

IN RE TIVITY HEALTH, INC. DERIVATIVE )
LITIGATION                            ) Lead Case No. 20-CV-00903 (RGA)
_____________________________________ )


                             [PROPOSED] ORDER


            PURSUANT TO THE STIPULATION, IT IS SO ORDERED.

DATED: ________________________
                                          HONORABLE RICHARD G. ANDREWS
                                          UNITED STATES DISTRICT COURT
